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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

THE UNITED STATES OF AMERICA

VS.

MAXIMILIEN R. REYNOLDS,

NOTICE OF INTENT
TO RELY ON
INSANITY DEFENSE

Defendant. Case No. 3:18-mj»00139-TWD

To: Richard R. Southwici<

Assistant United States Attorney

United States Attorney's Office, Northern District of New Yorl<
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NOTICE IS HEREBY GIVEN, pursuant to Ru|e 12.2(a) of the Federa| Ru|es of

Criminal Procedure, and related provisions of law, that Maximilien R. Reyno|ds,

defendant in the above-entitled case, intends to rely on the defense of insanity at

the time of the alleged offense.

DATED: March 16, 2018

 

RAWSCHLATHER, ESQ.

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